United States District Court

For the Northern District of California

o CO HT DR nO FL WD NY

No NO NO NO NN NY NO YN L—FQ HH KF KF SF KF OS PO OES hl Sl
Oo oN DN OT BR WY NY KF ODO oO wo HD DH eH PR WD YY KF CO

 

Case 3:08-cv-05113-TEH Document 181 Filed 11/12/09 Page 1 of 1

RECEIVED

we

NOY of 2 visa

IN THE UNITED STATES DISTRICT COURT. 6 oe yay
CLEMK HE DEE

NORTHERN DISTRIC FOR pe

FOR THE NORTHERN DISTRICT OF CALIFORNIA

 
 

DAN VALENTINE, et. al., CASE NO, CV 08 5112 7 Eu

 

Plaintiff, (Proposed)
ORDER GRANTING APPLICATION
v. FOR ADMISSION OF ATTORNEY
NEBUAD, INC., et. al., PRO HAC VICE
Defendant.
/
David A. Stampley , whose business address and telephone number is

KamberEdelson, LLC, 11 Broadway, 22nd Floor, New York, NY 10004, (212) 920-3072

and who is an active member in good standing of the bar of New York
having applied in the above-entitled action for admission to practice in the Northern District of
California on a pro hac vice basis, representing Dan Valentine, et. al.

IT IS HEREBY ORDERED THAT the application is granted, subject to the terms and
conditions of Civil L.R. 11-3. All papers filed by the attorney must indicate appearance pro hac
vice. Service of papers upon and communication with co-counsel designated in the application
will constitute notice to the party. All future filings in this action are subject to the requirements

contained in General Order No. 45, Electronic Case Filing.

Dated:

United States District Judge

 
